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                                       EXHIBIT B
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November 28, 2022                                                                    Wendy J. Olson
                                                                  101 S Capitol Boulevard, Suite 1900
                                                                                    Boise, ID 83702
VIA EMAIL ONLY                                                                       D. 208.387.4291
                                                                             wendy.olson@stoel.com
Ashley Guillard
Ashleyisinthebookoflife
Ashlisgod.com
tarotbyashleyg@gmail.com

Re:      Cease and Desist – False and Defamatory Statements Regarding Professor Rebecca
         Scofield

Dear Ms. Guillard:

         I represent Rebecca Scofield, an associate professor at the University of Idaho. You have
made false and defamatory statements regarding Professor Scofield on TikTok. If you do not
immediately remove all such false and defamatory TikToks from that platform, of which there are
at least 15, and immediately cease and desist from making or publishing any similar TikToks or
false statements on any other public platform, Professor Scofield will initiate litigation against you
and your entities in Idaho State and/or Federal Court.

         As you know, your TikToks are false in at least two respects. First, they falsely state that
Professor Scofield is responsible in whole or in part for the murder of four University of Idaho
students, whose murders occurred on November, 13, 2022. Second, your TikToks falsely state
that Professor Scofield had engaged in or attempted to engage in a romantic relationship with one
of the murdered students while Professor Scofield was a professor and the student was a student
at the University of Idaho. There is no factual basis for either of these false statements. Nor could
you in good faith reasonably make such statements believing they were true. You have no personal
knowledge regarding these tragic crimes nor do you have any personal knowledge regarding
Professor Scofield’s work at the University of Idaho. To be certain, Professor Scofield played no
role in these horrific crimes, nor did she engage in or attempt to engage in a romantic relationship
with any of the murdered students. Your false statements are per se defamatory under Idaho law.
They place Professor Scofield and her family in danger. They also deflect attention from the facts
of the murders, harm the victims and their families, and potentially divert resources necessary to
solve these crimes.

        In a defamation case in Idaho, a plaintiff must prove that a defendant: (1) communicated
information concerning the plaintiff to others; (2) that the information was defamatory; and (3)
that the plaintiff was damaged because of the communication. Clark v. Spokesman-Rev., 144
Idaho 427, 430, 163 P.3d 216, 219 (2007). A defamatory statement is one that tends to harm a
person’s reputation, usually by subjecting a person to public contempt, disgrace, or ridicule, or
by adversely affecting the person or the person’s business. Elliott v. Murdock, 161 Idaho 281,


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287, 385 P.3d 459, 465 (2016). Defamatory statements may be defamatory per se, meaning they
are actionable without proof of special damages when they impute conduct constituting a
criminal offense of such kind as to involve infamous punishment (death or imprisonment) or
moral turpitude conveying the idea of major social disgrace. Irish v. Hall, 163 Idaho 603, 607–
08, 416 P.3d 975, 979–80 (2018) (citing Barlow v. Int'l Harvester Co., 95 Idaho 881, 890, 522
P.2d 1102, 1111 (1974)); Sadid v. Vailas, 943 F. Supp. 2d 1125, 1134 (D. Idaho 2013) ("Idaho
follows the common law rule allowing plaintiffs to receive an award of general damages without
proof of special damages in defamation per se cases").

        Your false statements regarding Professor Scofield constitute defamation per se. They
are false, made with knowledge of falsity or with reckless disregard for truth or falsity, and they
falsely allege that Professor Scofield engaged in criminal activity and engaged in activity
involving moral turpitude that conveyed the idea of major social disgrace. Based on your
defamatory statements to date, she could recover significant monetary damages from you. You
must immediately take down your defamatory TikToks, and you must cease and desist from
making additional TikToks – or making false statements of any kind -- defaming Professor
Scofield. Professor Scofield also demands that you immediately publish a TikTok
acknowledging your initial false statements and apologizing to Professor Scofield.

       Please confirm that you will take these steps immediately and provide proof to me at the
above address or email address that you have done so.


Sincerely,




Wendy J. Olson




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